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    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. & Email    FOR COURT USE ONLY
    Address


    CRAIG G. MARGULIES (State Bar No. 185925)
    ORI S. BLUMENFELD (State Bar No. 259112)
    MARGULIES FAITH LLP
    16030 Ventura Boulevard, Suite 470
    Encino, CA 91436
    Telephone: (818) 705-2777
    Facsimile: (818) 705-3777
    Email: Craig@MarguliesFaithLaw.com
    Email: Ori@MarguliesFaithLaw.com
        Individual appearing without attorney
        Attorney for Plaintiffs Jamie Ruigomez, Kathleen Ruigomez,
    and Joseph Ruigomez

                                   UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
    In re:                                                                          CASE NO.: 2:20-bk-21020-BR

    THOMAS VINCENT GIRARDI,                                                         CHAPTER: 11
                                                                                    ADVERSARY NO.: 2:21-ap-017074-BR
                                                                    Debtors.


    JAMIE RUIGOMEZ, an individual; KATHLEEN
    RUIGOMEZ, an individual; and JOSEPH
    RUIGOMEZ, an individual,                                                   NOTICE OF LODGMENT OF ORDER OR
                                                                               JUDGMENT IN ADVERSARY
                                                                   Plaintiffs, PROCEEDING RE: (title of motion1):
                                        vs.                                    DEFAULT JUDGMENT (BASED ON PRIOR
                                                                               JUDGMENT)
    THOMAS VINCENT GIRARDI, an individual,

                                                                Defendant.

PLEASE TAKE NOTE that the order or judgment titled DEFAULT JUDGMENT (BASED ON PRIOR
JUDGMENT) was lodged on (date) October 12, 2021, and is attached. This order relates to the
stipulation which is docket number 11.




1
    Please abbreviate if title cannot fit into text field.

              This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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                               [Proposed]
                                  Order
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 Attorney or Party Name, Address, Telephone & FAX Nos.,                      FOR COURT USE ONLY
 State Bar No. & Email Address
 CRAIG G. MARGULIES (State Bar No. 185925)
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 Email: Ori@MarguliesFaithLaw.com




     Debtor(s) appearing without attorney
     Attorney for: Plaintiffs, Jamie Ruigomez, Kathleen
 Ruigomez, and Joseph Ruigomez

                                         UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA -LOS ANGELES DIVISION

 In re:                                                                      CASE NO.: 2:20-bk-21020-BR
 THOMAS VINCENT GIRARDI                                                      CHAPTER: 7
                                                                             ADVERSARY NO.: 2:21-ap-01074-BR

                                                               Debtor(s)
                                                                                             DEFAULT JUDGMENT
 JAMIE RUIGOMEZ, an individual; KATHLEEN                                                 (BASED ON PRIOR JUDGMENT)
 RUIGOMEZ, an individual; and JOSEPH RUIGOMEZ, an
 individual,                                                               DATE: 10/05/2021
                                                                           TIME: 10:00 am
                                                                           COURTROOM: 1668
                                                              Plaintiff(s) PLACE: Roybal Federal Building
                                    vs.                                            255 E. Temple Street
                                                                                   Los Angeles, CA 90012
 THOMAS VINCENT GIRARDI, an individual,


                                                           Defendant(s)

Based on the Defendant’s failure to respond to the complaint, the court renders its judgment as follows:

1. Judgment shall be entered in favor of Plaintiffs (specify name): Jamie Ruigomez, Kathleen Ruigomez, and Joseph Ruigomez and
against Defendant (specify name): Thomas Vincent Girardi

2.        The liability resulting from the judgment previously entered in favor of the Plaintiff as described below is determined to be
          non-dischargeable under:                              Bankruptcy Code 11 U.S.C. §§ 523(a)(2)(A), (a)(4), and (a)(6)
              Other (specify):

          Case: Joseph Ruigomez, Kathleen Ruigomez, and Jamie Ruigomez v. Thomas V. Girardi, et al.
          Court: Superior Court of California, County of Los Angeles, Case No. 19STCV22296
          A copy of the underlying Judgment is attached. Judgment Amount: $11,000,000.00

          This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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3.   a.       Plaintiff is awarded costs in the following amount:                         $1,116.86
     b.       Plaintiff is awarded attorney fees in the following amount:                 $17,930.99 (through the Petition Date)
     c.       Plaintiff is granted the following relief (specify):
              Plaintiffs are awarded interest through the Petition Date in the following amount: $732,328.76
              Plaintiffs are awarded interest at the rate of 0.10% from Petition Date to the date of entry of this judgment.
              See attached page

4.        The court further orders (specify):

Notwithstanding the entry of this nondischargeable Default Judgment against Thomas Vincent Girardi, the underlying Stipulated
Judgment (Exhibit “A” hereto) entered against both Thomas Vincent Girardi and the related debtor/defendant Girardi Keese remains
valid, enforceable and unchanged, including but not limited to the various perfected security interests created and related thereto.

              See attached page

5.        The sum nondischargeable Default Judgment award amount (exclusive allowed Post-Petition interests) is: $11,751,376.70




                                                                          ###




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                                   Exhibit A
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                                   Exhibit A
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                                   Exhibit A
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                                   Exhibit A
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                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
16030 Ventura Blvd., Suite 470, Encino, CA 91436

A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER IN ADVERSARY
PROCEEDING RE: DEFAULT JUDGMENT (BASED ON PRIOR JUDGMENT) will be served or was served (a) on the
judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
October 12, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:


                                                                                         Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) October 12, 2021, I served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                         Service information continued on attached page


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)      , I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.


                                                                                         Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 October 12 2021              Angela Saba                                                    /s/ Angela Saba
 Date                        Printed Name                                                    Signature




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                                        ADDITIONAL SERVICE INFORMATION
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

ATTORNEY FOR PLAINTIFFS: Ori S Blumenfeld Ori@MarguliesFaithLaw.com,
Helen@MarguliesFaithLaw.com;Angela@MarguliesFaithLaw.com;Vicky@MarguliesFaithLaw.com
ATTORNEY FOR PLAINTIFFS: Craig G Margulies Craig@MarguliesFaithlaw.com,
Vicky@MarguliesFaithlaw.com;Helen@MarguliesFaithlaw.com;Angela@MarguliesFaithlaw.com
CHAPTER 7 TRUSTEE: Jason M Rund (TR) trustee@srlawyers.com, jrund@ecf.axosfs.com
United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov


2. SERVED BY UNITED STATES MAIL:


  JUDGE:
  Honorable Barry Russell
  U.S. Bankruptcy Court
  255 E. Temple Street, Suite 1660
  Los Angeles, CA 90012

  DEFENDANT:

                  Thomas Vincent Girardi                                        Thomas Vincent Girardi
                    1126 Wilshire Blvd.                                   325 W. Hospitality Ln., Suite 204, San
                  Los Angeles, CA 90017                                         Bernardino, CA 92408)


                  Thomas Vincent Girardi                                           Thomas Vincent Girardi
                  81775 Brown Deer Park                                                100 Los Altos
                   La Quinta, CA 92253                                              Pasadena, CA 91105

                                                                    1
     Leonard Pena on Behalf of Interested Party
                  Robert Girardi
               Pena & Soma, APC
         402 S. Marengo Avenue, Suite B
              Pasadena, CA 91104




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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
